Exhibit A
                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA

 RENEE ZINSKY,                                       Civil Action No. 2:22-cv-547(MJH)

                Plaintiff,                           The Honorable Marilyn J. Horan

                v.

 MICHAEL RUSSIN, RUSSIN
 FINANCIAL, RUSSIN GROUP, SIMON
 ARIAS, III, ARIAS AGENCIES, S.A.
 ARIAS HOLDINGS, LLC, AMERICAN
 INCOME LIFE INSURANCE COMPANY,                      ELECTRONICALLY FILED

                Defendants.



               DECLARATION OF JEFFREY HAMMER IN SUPPORT OF
                AMERICAN INCOME LIFE INSURANCE COMPANY’S
                  MOTION TO CONFIRM ARBITRATION AWARD

       Jeffrey Hammer, under the pains and penalties of perjury, states:

       1. I am an attorney admitted to practice in the State of California. I am an attorney at

King & Spalding LLP, counsel for Defendant American Income Life Insurance Company (“AIL”),

and am admitted Pro Hac Vice in the above-referenced matter. I submit this declaration in support

of AIL’s Motion to Confirm Arbitration Award. I have personal knowledge of the facts stated

herein, and could and would testify competently thereto if called as a witness in this matter.

       2.      On July 22, 2022, this Court compelled arbitration as to all claims related to AIL

and Simon Arias, Arias Agencies, S.A. Arias Holdings, LLC (“Arias Defendants”). (Dkt. No. 37.)

On September 27, 2022, Plaintiff Renee Zinsky filed a Demand for Arbitration (“Demand”)

against AIL and the Arias Defendants initiating American Arbitration Association Case Number

01-22-0004-0849 (the “Arbitration”).

       3.      In her Demand, Plaintiff brought the following claims:

               (1) Intentional violation of the Fair Labor Standards Act (29 U.S.C.
               § 201, et seq.); (2) Intentional violation of the Fair Labor Standards
                    Act, Failure to Maintain Required Records (29 C.F.R. § 516, et seq.)
                    (3) Violation of the Pennsylvania Minimum Wage Act of 1968
                    (“PMWA”) (43 P.S. § 333.104(c) and 34 Pa. Code § 231.41); (4)
                    Violation of the Pennsylvania Wage Payment and Collection Law
                    (“WPCL”) (43 P.S. § 260.3); (5) Unjust Enrichment; (6) Breach of
                    Contract - Failure to Act in Good Faith; (7) Declaratory Relief –
                    Rescission of Agent Contract; (8) Violation of Title VII of the Civil
                    Rights Act of 1964 (Title VII) and the Pennsylvania Human
                    Relations Act (“PHRA”), Gender Discrimination; (9) Violation of
                    Title VII and the PHRA, Sexual Harassment; (10) Violation of Title
                    VII and the PHRA, Retaliation; (11) Negligent Hiring1; (12)
                    Negligent Retention; (13) Intentional Infliction of Emotional
                    Distress.
           4. On November 18, 2022, Claimant filed an Amended Demand making additional claims

for defamation, intrusion upon seclusion, sexual assault, battery, and false imprisonment based

upon Defendant Michael Russin’s alleged conduct.

           5. On March 4, 2024, the Panel issued its “Final Order” in the Arbitration. A true and

correct copy of that Final Order is attached hereto as Exhibit A.



           I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. This declaration was signed on March 12, 2023 in Pasadena,

California.


                                                  `                      ____________________
                                                                           Jeffrey Hammer




1
    This claim was not pled against AIL.

                                                      2
Exhibit A
